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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

FRANCHISE GROUP, INC., et al.,                      Case No. 24-12480-LSS

                              Debtors.              (Jointly Administered)

                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of David N. Saponara, Esq., of Kudman Trachten Aloe Posner LLP, 488 Madison
Avenue, 23rd Floor, New York, New York 10022, to represent Brian Kahn and Lauren Kahn in the
above-captioned cases.

Dated: May 6, 2025                    By:     /s/ Bruce W. McCullough
                                              Bruce W. McCullough (Bar No. 3112)
                                              BODELL BOVE, LLC
                                              1225 N. King Street, Suite 1000
                                              Wilmington, Delaware 19801
                                              Tel: (302) 655-6749
                                              bmccullough@bodellbove.com

           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of New York, and
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of these cases. I also certify that I am generally familiar with this Court’s
Local Rules and with Standing Order for District Court Fund revised December 21, 2023. I further
certify that the fee of $50.00 has been paid to the Clerk of the Court for District Court.

Dated: May 6, 2025                    By:     /s/ David N. Saponara
                                              David N. Saponara
                                              KUDMAN TRACHTEN ALOE POSNER LLP
                                              488 Madison Avenue, 23rd Floor
                                              New York, New York 10022
                                              Tel: (212) 868-1010
                                              dsaponara@kudmanlaw.com

                                ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
